Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 1 of 20 PageID 126




                    UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


               M.M.
                _ .andASHLEY  §
 MCDOWEL                      §
                              §
 Plaintiffs,                  §
                              §
 V.                           §                          Case No.
                              §
 THE UNITED STATES OF AMERICA §
                              §
 Defendant                                  6



                       COMPLAINT FOR DAMAGES
               UNDER THE FEDERAL TORT CLAIMS ACT


                        M.M.
                          .and ASHLEY MCDOWEL, Plaintiffs, by and

 through their attorneys. Carpenter & Czelusta, PLLC, now come before this

 Court and complain of and sues the UNITED STATES OF AMERICA

 (Hereinafter referred to as "Defendant"), as follows:

                    JURISDICTION, VENUE,PARTIES,
                      AND CONDITIONS PRECEDENT


       1.    This lawsuit arises out of negligent medical care and treatment

 rendered by the Defendant, to            M.M.             causing her to suffer

 permanent and catastrophic neurologic injury.
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 2 of 20 PageID 127




       2.    This Court further has subject matter jurisdiction under 28 U.S.C.

 §§1346rbVn because the claims herein are brought against the United States

 pursuant to the Federal Tort Claims Act(28 U.S.C. §2671. et seq.) for money

 damages as compensation for personal injuries that were caused by the negligent

 and wrongful acts and omissions of employees of the Defendant while acting

 within the scope of their offices and employment, under circumstances where

 the Defendant, if a private person, would be liable to the Plaintiffs.

       3.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(bX as

 the events or omissions giving rise to the claims occurred or a substantial part of

 the acts and omissions forming the basis of these claims occurred in

 Hillsborough County, Florida, which is located within the Middle District of

 Florida. The Tampa Division of this District Court is most directly connected

 to this action and where the action will be most conveniently advanced.

       4.    ASHLEY MCDOWEL is the mother and legal guardian of M.M.

       -       who at the time ofthese events was two(2) years old. They reside

 at 14035 Abaco Isle Drive, Orlando, FL 32824, which is within this District.

       5.    At all times material, the physicians and health care providers

 providing care and treatment to' M.M.           _       , including Robert Lewis,

 M.D.; James J. Tschudy, M.D.; Robert Gonzalez, D.O.; and the patient care

 personnel of the United States Air Force MacDill Air Force Base 6th Medical
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 3 of 20 PageID 128




 Group, located at located at 8208 Hangar Loop Drive, Tampa, Florida 33621,

 were employed by the Defendant to provide medical care and treatment to its

 patients including' M.M.
                      -

      6.     At all times material, the physicians and health care providers

 employed by the Defendant and providing care and treatment to M.M.

             ^ including Robert Lewis, M,D.; James J. Tschudy, M.D.; Robert

 Gonzalez,D.O.; and the patient care personnel United States Air Force MacDill

 Air Force Base 6th Medical Group; were acting within the course and scope of

 their employment with the Defendant.

       7.    Plaintiffs have fully complied with the provisions of 28 U.S.C.

 §2675 of the Federal Tort Claims Act.

       8.    Pursuant to the Federal Tort Claims Act, 28 U.S.C. § 2671,et. seq.,

 all conditions precedent to this lawsuit have been fulfilled, in that Plaintiffs

 timely served notice of their claims on the Defendant in January 2020.

 Thereafter, the U.S. Department of the Air Force assumed responsibility for

 processing the claim. On January 13, 2020, correspondence was received from

 it denying the claim.

       9.    Undersigned counsel hereby certifies, pursuant to section 766.104,

 Florida Statutes, that they have undertaken a reasonable investigation that has
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 4 of 20 PageID 129




 given rise to a good faith belief that reasonable grounds exist for this medical

 neghgence action against the Defendants named herein.

       10.   Further, Plaintiffs, through undersigned counsel, have fully

 complied with section 766.106, Florida Statutes, and all conditions precedent to

 maintaining this action for medical negligence.

       11.   All other conditions precedent have either been met or otherwise

 waived.

       12.   This action is timely pursuant to 28 U.S.C. § 240irb^ in that it was

 presented to the appropriate federal agency within two years of accrual and this

 action was filed within six months of receipt of the certified letter sent by the

 federal agency denying the claim.

                               FACTUAL BASIS


       13.   This cause of action arose on or about May 27, 2019, when M.M.'S

                 injuries began as a result of the negligence of those providing

 medical care to her at the MacDill Air Force Base, 6th Medical Group.

       14.       -M.M.
                   _.              , who at the time of the events leading to this

 lawsuit was two(2) years old, was a full term and healthy infant at birth, and at

 all times material, she remained healthy up to the point in time where she

 suffered injuries as a result of the negligence of the Defendant as described

 herein.
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 5 of 20 PageID 130




       15.        M.M.        .     established pediatric primary care at MacDill

 Air Force Base, 6th Medical Group on or around March 3, 2017, when she

 presented for her newborn visit. She was noted to be healthy and meeting

 milestones as expected.

       16.   At her four-month checkup on or around June 29, 2017, M.M.

              ^ was seen by James J. Tschudy, M.D., who identified that she had

 eczema that could be "triggered by cow's milk protein sensitivity. Continue to

 avoid milk products.""     M.M.'S _ ^        ; parents indicated that they wanted

 to discuss formula options for her because she vomits immediately after taking

 most formulas and refused others.


       17.   On September 6, 2017,'          M.M.          ^ presented for her six-

 month checkup to Dr. Tschudy, who noted no allergies but the diagnosis of

 eczema. He noted ASHLEY MCDOWEL was feeding M.M.. 80% rice milk

 formula and breastmilk, and that ~             M.M.                was refusing

 "hypoallergenic" formulas and "vomits violently with cow's milk based

 formulas." Dr. Tschudy did not note any allergies on this visit but stated that an

 attempt at IgE testing would be made to "[s]ee if there are any dietary

 contributors apart from cow's milk." At this point,'       M.M.               was

 noted to be meeting her normal developmental milestones.
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 6 of 20 PageID 131




       18.   Immunoglobulin E (IgE) testing is an evaluation for suspected

 diseases associated with elevations in total immunoglobulin E (IgE), including

 allergic disease.

       19.   IgE testing on September 25, 2017, revealed that .M.M.

                had "very strong reactions" to some foods, to include milk, egg

 yolk, peanut, rye, oat, and barley. The recommendation was that "[f]or now.

 Mom should limit cow's milk and peanuts in her own diet since she is still

 breastfeeding." The results were purportedly conveyed by a nurse to ASHLEY

 MCDOWEL and not by Dr. Tschudy, however these results were documented

 in the Defendant's medical record for.      M.M.         ..


       20.    Although ASHLEY MCDOWEL complied with the dietary

 recommendations contained in the September 25, 2017, IgE testing results, she

 had an ongoing struggle to find a suitable replacement for cow's milk in       M.M.'S

                 diet and reasonably rehed upon the advice and counseling of the

 Defendant in this regard.

       21.    On or around November 30,2017,based on the aforementioned IgE

 results. Dr. Tschudy noted a likelihood that       M.M._           L had "true food

 allergies" and referred her to an allergist to help "better delineate foods allergies

 and manage eczema."
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 7 of 20 PageID 132




       22.   On January 10, 2018 allergist Patricia Jerez-Martin, M.D.,

 evaluated        M.M.          .and noted diagnoses to include food allergies to

 milk, egg wheat, rye, barley, oats, and peanuts. Her plan of care for M.M.

                included EpiPen, Benadryl, and avoidance of milk/dairy. A

 follow up for 3-4 weeks to review lab results was scheduled. A record of this

 visit is contained in the Defendant's medical record for.   M.M.   .

       23.   On or around March 14, 2018, Dr. Jerez-Martin again saw

              .in consultation. Dr. Jerez-Martin noted that the allergies of milk,

 egg, gluten (wheat, rye, barley) oats, peanuts and tree nuts persisted. The plem

 of care was avoidance of allergens and EpiPen with follow up in four months or

 sooner.



       24.   On May 21, 2018, a "Special Care Action Plan" was submitted to

 MacDill Air Force Base Child Development Center on behalf of              M.M.

             _. This form required safety information pertaining to .M.M.

              . to be filled out by the Defendant's medical personnel. However,

 critical areas are altogether omitted or empty, including the section requiring a

 signature for parents' education. This form was never presented by MacDill Air

 Force Base personnel to either of         M.M.'S        j parents.
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 8 of 20 PageID 133




       25.   On May 30, 2018, ASHLEY MCDOWEL called the MacDill Air

 Force Base 6th Medical Group clinic for a scheduled visit and processing of

 Exception Family Member Program(EFMP)paperwork.

       26.   The EFMP is a program designed to assist Air Force family

 members diagnosed with physical conditions that require ongoing medicgd

 services. It is intended to enhance accessibility for individuals with medical

 requirements to needed medical services.         At all times material,    M.M.

             , qualified for EFMP due to her severe allergies. Enrollment in

 EFMP would have allowed for enhanced accessibility to medical services and

 counseling needed to address 7          M.M.'S    j   3 medical needs due to her

 known severe allergies. This would have included accessibility to medical case

 management and patient education.

       27.   ASHLEY MCDOWEL was purportedly informed that                   M.M.

             , needed a well visit in order to complete her paperwork that was

 dropped offat the clinic. The Defendant's staff member noted on May 30,2018,

 that the EFMP paperwork needed to initiate her enrollment in the program was

 completed and would be returned at            M.M.'S .          , next well visit.

       28.   EFMP paperwork was withheld from ASHLEY MCDOWEL,

 depriving
         '        M.M.            , of her right to access special needs assistance,

 including medical case management and patient education.
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 9 of 20 PageID 134




       29.   On June 11, 2018, ^" M.M.                  presented to the MacDill

 Air Force Base 6th Medical Group clinic for a fever and ear infection. She was

 noted to have a decreased appetite with vomiting and diarrhea. Dr. Christopher

 Wilke MD noted that she did not have a case manager and that she was not

 enrolled in an EFMP. It was noted during this visited that "she has only been

 dx'd with cow's milk, egg, gluten, oat, peanut, and tree nut allergies."

       30.   On June 15, 2018,          M.M.           . presented for a follow up

 for an allergic reaction after an admission to St. Joseph's Hospital and for a 15

 month well visit with Dr. Tschudy. Dr. Tschudy noted           M.M.

 was still not enrolled in an EFMP and that she did not have a case manager. Dr.

 Tschudy noted that "[w]e informed[ASHLEY MCDOWEL]that we could not

 complete the forms without a well visit as she had not had once [sic] since 6

 months."


       31.   ASHLEY MCDOWEL brought                      M.M.               to the

 Defendant's MacDiQ Air Force Base 6th Medical Group Clinic multiple

 additional times after the June 15, 2018 visit, and not one of the Defendant's

 employed physicians or staff persons presented ASHLEY MCDOWEL with the

 correct paperwork for enrolling in EFMP notwithstanding the fact that she had

 met all requirements and prerequisites for enrollment thereby denying her access

 to services, including a case manager and proper and condition specific
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 10 of 20 PageID 135




  education. At this same time, it was documented by Dr. Tschudy that she had

  multiple exposures to foods containing allergens causing significant reactions

  and requiring the use of an Epi Pen. At this same time, it was noted that she

  continued to meet developmental milestones and was developing normally.

        32.   On July 12, 2018,
                              '           M.M.             again presented to the

  Defendant's MacDill Air Force Base 6th Medical Group Clinic, this time for a

  swollen lymph node. At this time, it was again recognized that she was still not

  enrolled in EFMP,she remained without a case manager, and that she remained

  with significant food allergies, including milk, with a history of anaphylaxis.

        33.   On July 19, 2018,          M.M.             > again presented to the

  Defendant's MacDill Air Force Base 6th Medical Group Clinic for follow up for

  the swollen lymph node. It was noted that she was still not enrolled in EFMP

  and also did not have a case manager. It was also documented that the patient

  "doesn't like milk" despite a thoroughly documented milk aUergy.

        34.   On August 1, 2018,          M.M.              presented again to the

  MacDill Air Force Base 6th Medical Group clinic for fever and swollen lymph

  nodes. Again, it was noted, this time by Dr. Robert Lewis, that she was still not

  enrolled in EFMP and also did not have a case manager notwithstanding the

  continued notation of multiple food allergies and a history of anaphylaxis.
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 11 of 20 PageID 136




        35.   On August 14, 2018,         M.M.          . presented again to the

  MacDill Air Force Base 6th Medical Group clinic for a rash on her back. Dr.

  Robert Gonzalez evaluated          M.M.          _ and noted that she was still

  not enrolled in EFMP and also did not have a case manager notwithstanding the

  continued notation of multiple food allergies and a history of anaphylaxis. Dr.

  Gonzalez diagnosed impetigo and a urinary tract infection.

        36.   On August 29, 2018,       M.M.              . presented again to the

  MacDill Air Force Base 6th Medical Group clinic for a cough/wheezing. Dr.

  Gonzalez again evaluated her and again noted that she was still not enrolled in

  EFMP and also did not have a case manager notwithstanding the continued

  notation of multiple food allergies and a history of anaphylaxis. Dr. Gonzalez

  diagnosed her with pneumonia and sent her home with a Zithromax

  prescription.

        37.   On October 31, 2018,          M.M.     ""         presented to the

  MacDill Air Force Base 6th Medical Group Clinic for a low-grade fever with a

  runny nose and cold symptoms. She was seen by Dr. Robert Lewis who noted

  that she was still not enrolled in EFMP and also did not have a case manager

  notwithstanding the continued notation of multiple food allergies and a history

  of anaphylaxis. Dr. Lewis diagnosed her with a cold and prescribed Zyrtec.
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 12 of 20 PageID 137




        38.   On December 20, 2018,              M.M.          . presented to the

  MacDill Air Force Base 6th Medical Group clinic for a rurmy nose and cough.

  At that time, she was still not enrolled in EFMP and also did not have a case

  manager.      _   M.M.      —was diagnosed as having an upper respiratory

 infection and otitis media in the right ear, and prescribed Zithromax. There

 remained no action on the failure to enroll her in EFMP or to assign a case

  manager related to her continued severe food allergies.

        39.   On March 11, 2019,          M.M.              again presented to the

  MacDill Air Force Base 6th Medical Group clinic and was evaluated by Dr.

  Robert Gonzalez for a 24 month well check. At that time, allergy testing was

 requested by her father. Dr. Gonzalez ordered eosinophilic esophagitis SCR,

  gluten IGE,and tree nuts panel laboratory testing. The results ofthese tests were

  not presented to her allergist. She was still not enrolled in EFMP and also did

  not have a case manager notwithstanding the continued notation of multiple

  food allergies and a history of anaphylaxis. She was noted to be growing and

  developing appropriately.

        40.   On April 3, 2019,          M.M.           - again presented to the

  MacDill Air Force Base 6th Medical Group clinic and was evaluated by Dr.

  Robert Lewis for possible cold symptoms. Dr. Lewis diagnosed her with acute

  bronchospasm and renewed her referral to an allergist. There is no record ofthis
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 13 of 20 PageID 138




  referral in any other medical records, including the allergist's records. The

  allergy diagnosis vaguely referred to "allergy to other foods." Dr. Lewis again

  noted that ^        M.M.            was not enrolled in an EFMP and did not have


  a case manager.


        41.      Additionally, during this April 3, 2019, visit to the Defendant's

  clinic, ASHLEY MCDOWEL asked for a specific allergist. Dr. Lewis stated

  that she should call Tricare and obtain the referral through the referral center.

  ASHLEY MCDOWEL also requested dietary supplements for                        M.M.

                   for calcium and Vitamin D, because of her child's allergies.

  During this visit, Dr. Lewis stated, "Since    M.M . is   allergic to cow's milk, you
                                                 .
  can get camel's milk or goat's milk. The calcium content is higher. You can

  order it online."

        42.      On April 29, 2019,       M.M.
                                         ...                .presented to MacDill Air

  Force Base 6th Medical Group clinic and was evaluated by Dr. Robert

  Gonzalez. The reason for the visit was "ongoing cough/meds not working."

  Gonzalez noted that she was non-toxic looking and discharged her without

  limitations.'"         M.M. _         < still was not enrolled in EFMP and also

  continued to be without a case manager.

        43.      Throughout ~         M.M.'S         ■ multiple visits to the MacDill

  Air Force Base 6th Medical Group clinic, no education was noted to have been
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 14 of 20 PageID 139




  performed on diet, nutrition, or allergy counseling. Insufficient referrals were

  made to an allergist even though she suffered from severe food allergies. Though

  a referral was renewed in April 2019 to an allergist,'       M.M.
                                                                  "         ^should

  have had ongoing visits to the allergist and renewed by the Defendant on a

  regular basis rather than at the belated request of her parents.

          44.       On May 27, 2019, and at the instruction and assurance of the

  Defendant's staffand physicians as previously described, and without the benefit

  of reasonable medical counseling, advice, and case management, ASHLEY

  MCDOWEL bought goat's milk for                 M.M.           , and fed it to her at

  approximately 5:00 PM.

          45.       Shortly after 5:00 PM on May 27, 2019, and after ingesting goat's

  milk,         -      M.M.
                         '             experienced a severe anaphylactic reaction.

  ASHLEY MCDOWEL administered EpiPen and immediately transported her

  to the closest Emergency Department at Brandon Regional Medical Center. She

  arrived minutes after the start of the anaphylactic reaction as M.M.

                    ^ vas a Code Blue. She was ultimately resuscitated and stabilized

  after vigorous CPR and at least 5 rounds of epinephrine. Unfortunately,

          M.M.         ^ not resuscitated before suffering severe anoxic brain injury

  leading to catastrophic hypoxic ischemic encephalopathy secondary to her

  severe anaphylactic reaction to ingesting goat's milk.
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 15 of 20 PageID 140




       46.    Since May 27,2019,           M.M.
                                           '           _ ^ has experienced multiple

  months of hospitalization in intensive care and rehabilitation. She continues to

 suffer from catastrophic and life altering hypoxic brain injury, organ injury, and

 neurologic devastation that will persist for the rest of her life. She can no longer

  walk,speak,feed herself, or sit up on her own.        M.M.       _    is cortically

 blind, and she is forever unable to perform the most basic functions that would

 be expected of a child her age.

       47.    Due to the negligence described herein        M.M.            L is now

  a total care patient for life. From the age of 2 until the present, and for the

 remainder of her life,'      M.M. _        .will forever require around the clock

  care for her neurologic devastation. This neurologic devastation was directly

  and proximately caused by the negligence outlined herein.

        48.   Further, as a direct and proximate result of the negligence outlined

  herein, ASHLEY MCDOWEL must provide around the clock total care for her

  daughter,     M.M., _ 7.         This has resulted in the loss of her employment

  from date of incident to present date as well as the other damages described in

  this Complaint. Because of her obligation to take care of her daughter,

  ASHLEY MCDOWEL will remain unable to seek employment for the

  foreseeable future.
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 16 of 20 PageID 141




                                 CAUSE OF ACTION


                                  Medical Malpractice

        49.     Plaintiff incorporates by reference the allegations in all preceding

  paragraphs.

        50.     At all times material, the Defendant, through its employees, staff,

  borrowed servants, and/or agents providing healthcare to" M.M.                     ,

  owed its patients, including      M.M.                , a duty to provide reasonable

  medical care within the level of care, skill, and treatment which, in light of all

  relevant surrounding circumstances, is recognized as reasonable, acceptable,

  and appropriate by reasonably prudent similar health care providers.

        51.     The acts and omissions alleged herein constitute breaches of that

  duty of care with respect to       M.M.

        52.     At all times material, Defendant, through its employees, staff,

  borrowed servants, and/or agents providing healthcare to          M.M.

  including but not limited to United States Air Force; Robert Lewis, M.D.;

  James J. Tschudy, M.D.; Robert Gonzalez, D.O.; and the MacDill Air Force

  Base 6th Medical Group patient care staff and physicians was negligent and

  deviated from the standard of care, and breached its duties of care to        M.M.

                  by the following actions and/or omissions:
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 17 of 20 PageID 142




        A)      Failing to provide allergy and dietary education for the benefit of

                               M.M.      to ASHLEY MCDOWEL.


        B)      Failing to obtain necessary and ongoing referrals for   M.M.

                             ^ in a timely manner including but not limited to an

                allergist.

        C)      Failing to enroll         M.M.        ,in EFMP,which would have

                afforded more resources and education to care for her multiple and

                varied food allergies.

        D)      Instructing ASHLEY MCDOWEL that goat's milk was safe and

                appropriate for       M.M.
                                        _ ._ .       , when they knew or should

                have known that goat's milk elicits an almost identical allergic

                response as cow's milk in most people who are allergic to cow's

                milk.


        53.     As alleged herein, and as a result of the negligent acts and/or

  omission described herein,             M.M.
                                           "       ^ suffered a severe anaphylactic

  reaction with cardiac arrest leading to severe hypoxic brain injury, organ injury,

  blindness, and permanent neurologic devastation.

                                      DAMAGES


        54.     As a direct and proximate result ofthe negligence described herein,

  Plaintiff,'        M.M.           has suffered permanent and irreparable injuries
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 18 of 20 PageID 143




  and resulting critical complications that wrongfully caused her to suffer the

  following past and future personal injuries and related damages for which she

  seeks full compensation under the law as follows:

        A.    Pain and suffering.

        B.    Mental and emotional anguish.

        C.    Incapacity, disability, and disfigurement.

        D.    Loss ofthe capacity to enjoy life.

        E.    Inconvenience.


        F.    Aggravation of a preexisting disease or condition.

        G.    Medical bills and related expenses in seeking reasonable and

              appropriate nursing, attendant, and medical care and treatment for

              her injuries and resulting incapacity.

        H.    lost future earnings and earning capacity.

                   M.M.^ would not have suffered these damages but for the

  negligence of the Defendant.

        55.   Plaintiff, ASHLEY MCDOWEL has suffered the loss of

  consortium of        M.M.
                       ^             ^ and related damages in the past and future

  for which she seeks full compensation under the law as follows:

        A.    Pain and suffering.

        B.    Mental and emotional anguish.
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 19 of 20 PageID 144




       C.    Inconvenience.


       D.    Medical bills and related expenses in seeking reasonable and

             appropriate nursing, attendant care, and medical care for

                     M.M.' s injuries and resulting incapacity.

       E.    Lost past and future earnings.

       F.    The value of services that she must now provide to       M.M.

                           .as a result of her injuries and resulting incapacity.

       G.    The loss of                   M.M.'s services, comfort, attentions,

             love, companionship, society, affections, and solace.

  ASHLEY MCDOWEL would not have suffered these damages but for the

  negligence ofthe Defendant.

                             PRAYER FOR RELIEF


       56.   WHEREFORE,the Plaintiffs                M.M.         .and ASHLEY

  MCDOWEL are entitled to damages from THE UNITED STATES OF

  AMERICA, and they do hereby pray that judgment be entered in their favor

  and against THE UNITED STATES OF AMERICA as follows:

       A.    Monetary relief as compensation for the economic and non-

             economic damages described in this Complaint.

       B.    Attorney's fees and costs if awardable under the applicable law.
Case 8:21-cv-01206-VMC-AAS Document 1 Filed 05/18/21 Page 20 of 20 PageID 145




       C.    Pre and Postjudgment interest if awardable under the applicable

             law.


       D.    Such other relief as this Court deems just and proper.


                                     Respectfully submitted,

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                                     Attomeys for Plaintiffs
